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                              FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          DANIEL BERMAN; STEPHANIE                          No. 20-16900
          HERNANDEZ; ERICA RUSSELL,
                        Plaintiffs-Appellees,                 D.C. No.
                                                           4:18-cv-01060-
                               v.                               YGR

          FREEDOM FINANCIAL NETWORK,
          LLC; FREEDOM DEBT RELIEF, LLC;                      OPINION
          FLUENT, INC.; LEAD SCIENCE, LLC,
                       Defendants-Appellants.

               Appeal from the United States District Court
                  for the Northern District of California
             Yvonne Gonzalez Rogers, District Judge, Presiding

                    Argued and Submitted October 21, 2021
                          San Francisco, California

                                Filed April 5, 2022

          Before: Paul J. Watford and Andrew D. Hurwitz, Circuit
          Judges, and M. Miller Baker, * International Trade Judge.

                           Opinion by Judge Watford;
                           Concurrence by Judge Baker

             *
               The Honorable M. Miller Baker, Judge for the United States Court
         of International Trade, sitting by designation.
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                                   SUMMARY **


                                     Arbitration

             The panel affirmed the district court’s order denying
         defendants’ motion to compel arbitration in a putative class
         action under the Telephone Consumer Protection Act.

             In Part I of its opinion, the panel summarized the facts
         and procedural history. Plaintiffs used defendants’ websites
         but did not see a notice in fine print stating, “I understand
         and agree to the Terms & Conditions which includes
         mandatory arbitration.” When a dispute arose and plaintiffs
         filed this lawsuit, defendants moved to compel arbitration,
         arguing that plaintiffs’ use of the websites signified their
         agreement to the mandatory arbitration provision found in
         the hyperlinked terms and conditions.

             In Part II, the panel held that plaintiffs did not
         unambiguously manifest their assent to the terms and
         conditions when navigating through the websites, and as a
         result they never entered into a binding agreement to
         arbitrate their dispute, as required under the Federal
         Arbitration Act. The parties agreed that either New York or
         California contract law governed. To form a contract under
         New York or California law, including a contract formed
         online, the parties must manifest their mutual assent to the
         terms of the agreement, and they may do so through conduct.
         The panel explained that the courts have routinely found
         enforceable “clickwrap” agreements, in which a website
         presents users with specified contractual terms on a pop-up
             **
                This summary constitutes no part of the opinion of the court. It
         has been prepared by court staff for the convenience of the reader.
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         screen and users must check a box explicitly stating “I agree”
         in order to proceed. Courts are more reluctant to enforce
         “browsewrap” agreements, in which a website offers terms
         that are disclosed only through a hyperlink and the user
         supposedly manifests assent to those terms simply by
         continuing to use the website.

             The panel held that unless the web operator can show
         that a consumer has actual knowledge of an arbitration
         agreement, an enforceable contract will be found based on
         an inquiry notice theory only if: (1) the website provides
         reasonably conspicuous notice of the terms to which the
         consumer will be bound; and (2) the consumer takes some
         action, such as clicking a button or checking a box, that
         unambiguously manifests his or her assent to those terms.
         The panel concluded that defendants’ webpages did not
         provide reasonably conspicuous notice because of the small
         font size and format and because the fact that a hyperlink
         was present was not readily apparent. The panel further
         concluded that by clicking on a large green “continue”
         button, plaintiffs did not unambiguously manifest their
         assent to be bound by the terms and conditions.

             In Part III, the panel held that the district court properly
         exercised its discretion in denying defendants’ motion for
         reconsideration based on deposition testimony taken two
         months prior to the district court’s ruling on the motion to
         compel arbitration.

              Concurring, Judge Baker wrote that he joined Parts I and
         III of Judge Watford’s opinion, and he would reach the same
         result by a different route. Judge Baker wrote that he would
         conduct a choice-of-law analysis and, pursuant to Supreme
         Court precedent, would utilize the forum state of
         California’s choice-of-law rules and apply California law.
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         He would conclude that under recent decisions of the
         California Court of Appeal, defendants’ websites contained
         “sign-in wrap” agreements, which fall within a gray zone in
         which enforceability requires conspicuous textual notice that
         completing a transaction or registration signifies consent to
         the site’s terms and conditions. Under this standard,
         defendants’ notices were insufficiently conspicuous and
         were not unambiguously tied to some act of the website user
         that manifested assent to the site’s terms and conditions.
         Accordingly, defendants’ sign-in wrap agreements were not
         enforceable.


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                                  OPINION

         WATFORD, Circuit Judge:

             We revisit an issue first addressed by our court in Nguyen
         v. Barnes & Noble, Inc., 763 F.3d 1171 (9th Cir. 2014):
         Under what circumstances can the use of a website bind a
         consumer to a set of hyperlinked “terms and conditions” that
         the consumer never saw or read?

             In this case, plaintiffs used defendants’ websites but did
         not see a notice in fine print stating, “I understand and agree
         to the Terms & Conditions which includes mandatory
         arbitration.” When a dispute arose and plaintiffs filed this
         lawsuit, defendants moved to compel arbitration, arguing
         that plaintiffs’ use of the websites signified their agreement
         to the mandatory arbitration provision found in the
         hyperlinked terms and conditions. The district court rejected
         this argument, and so do we.                Plaintiffs did not
         unambiguously manifest their assent to the terms and
         conditions when navigating through the websites, and as a
         result they never entered into a binding agreement to
         arbitrate their dispute. We therefore affirm the district
         court’s order denying defendants’ motion to compel
         arbitration.

                                        I

             Defendant Fluent, Inc. is a digital marketing company
         that generates leads for its clients by collecting information
         about consumers who visit Fluent’s websites. Fluent’s
         websites offer rewards like gift cards and free product
         samples as an enticement to get consumers to provide their
         contact information and answer survey questions. Fluent
         then uses the information it collects in targeted marketing
         campaigns conducted on behalf of its clients.
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             The plaintiffs involved in this appeal, Stephanie
         Hernandez and Erica Russell, each visited a website
         operated by Fluent. The two websites differed in certain
         respects, but as described below, both contained a set of
         hyperlinked terms and conditions that included a mandatory
         arbitration provision, the enforceability of which is the
         principal issue raised on appeal.

             According to Fluent’s records, Hernandez visited the
         Fluent website www.getsamplesonlinenow.com from a
         desktop computer. Because Hernandez had visited a Fluent
         website before and had previously entered some of her
         contact information, the webpage she saw stated, in large
         orange letters across the top of the page, “Welcome back,
         stephanie!” See Appendix A. 1 In the middle of the screen,
         the webpage proclaimed, “Getting Free Stuff Has Never
         Been Easier!” and included brightly colored graphics. In
         between those two lines of text appeared a box that stated at
         the top, “Confirm your ZIP Code Below,” followed
         immediately by a pre-populated text box displaying the zip
         code 93930. Below that, the page displayed a large green
         button inviting Hernandez to confirm the accuracy of the zip
         code so that she could proceed to the next page in the website
         flow. The text inside the button stated, in easy-to-read white
         letters, “This is correct, Continue! >>.” Clicking on this
         button led to the next page, which asked Hernandez to


             1
                Appendix A is a recreation of the key webpage that defendants
         contend Hernandez saw when she visited Fluent’s website. For purposes
         of this opinion, we will assume that the recreations produced by
         defendants accurately depict the relevant webpages viewed by each
         plaintiff, although plaintiffs contested that fact below. Given our
         disposition, we need not address the district court’s alternative holding
         that material disputes of fact exist as to the accuracy and completeness
         of defendants’ webpage recreations.
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         provide personal information in order to obtain free product
         samples and promotional deals.

             Between the comparatively large box displaying the zip
         code and the large green “continue” button were two lines of
         text in a tiny gray font, which stated: “I understand and agree
         to the Terms & Conditions which includes mandatory
         arbitration and Privacy Policy.” The underlined phrases
         “Terms & Conditions” and “Privacy Policy” were
         hyperlinks, but they appeared in the same gray font as the
         rest of the sentence, rather than in blue, the color typically
         used to signify the presence of a hyperlink. If Hernandez
         had seen the “Terms & Conditions” hyperlink and clicked
         on it, she would have been taken to a separate webpage
         displaying a lengthy set of legal provisions, one of which
         stated that any disputes related to telemarketing calls or text
         messages received from Fluent or its marketing partners
         would have to be resolved through arbitration.

             According to Fluent’s records, Russell visited a different
         Fluent website, www.retailproductzone.com, using a mobile
         phone. The key webpage she viewed while registering to
         receive a free gift card stated at the top, “Shipping
         Information Required,” and below that, “Complete your
         shipping information to continue towards your reward.” See
         Appendix B. What followed were several fields requiring
         Russell to input her name, address, telephone number, and
         date of birth. Below a line instructing the user to “Select
         Gender,” two buttons appeared side by side marked “Male”
         and “Female.” Below that was a large green button with text
         that stated, in easy-to-read white letters, “Continue >>.”
         Russell had to click on the “continue” button to proceed to
         the next page in the website flow.

            As with the webpage Hernandez viewed, sandwiched
         between the buttons allowing Russell to select her gender
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         and the large green “continue” button were the same two
         lines of text in tiny gray font stating, “I understand and agree
         to the Terms & Conditions which includes mandatory
         arbitration and Privacy Policy.” The hyperlinks were
         underlined but again appeared in the same gray font as the
         rest of the sentence. The “Terms & Conditions” contained a
         mandatory arbitration provision similar to the one described
         above.

             Fluent and defendant Lead Science, LLC used the
         contact information provided by consumers like Hernandez
         and Russell to conduct a telemarketing campaign on behalf
         of defendants Freedom Financial Network, LLC and
         Freedom Debt Relief, LLC (collectively, Freedom). As part
         of the campaign, Fluent and Lead Science allegedly placed
         unsolicited telephone calls and text messages to hundreds of
         thousands of consumers, including Hernandez and Russell,
         marketing Freedom’s debt-relief services.

            Plaintiffs filed this putative class action on behalf of
         consumers who received unwanted calls or text messages
         from defendants during the telemarketing campaign
         conducted on Freedom’s behalf. They allege that the calls
         and text messages were made or sent without their consent
         and therefore violated the Telephone Consumer Protection
         Act (TCPA), 47 U.S.C. § 227 et seq.

             Defendants moved to compel arbitration, arguing that,
         by clicking on the “continue” buttons, Hernandez and
         Russell had agreed to the hyperlinked terms and conditions,
         including the mandatory arbitration provision. The district
         court denied defendants’ motion. The court concluded that
         the content and design of the webpages did not
         conspicuously indicate to users that, by clicking on the
         “continue” button, they were agreeing to Fluent’s terms and
         conditions.
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             Shortly after the district court denied defendants’ motion
         to compel arbitration, defendants filed a motion for
         reconsideration. They asserted that testimony given by
         plaintiffs in depositions taken two months earlier was
         material to the motion to compel. The district court denied
         the reconsideration motion, concluding that defendants had
         failed to act with reasonable diligence in producing the new
         evidence and, alternatively, that plaintiffs’ deposition
         testimony was not materially different from the facts the
         district court had previously considered.

             On appeal, defendants challenge the denial of both
         motions. We review de novo the denial of a motion to
         compel arbitration, while underlying factual findings are
         reviewed for clear error. Nguyen, 763 F.3d at 1175. We
         review the denial of a motion for reconsideration for abuse
         of discretion. Kona Enterprises, Inc. v. Estate of Bishop, 229
         F.3d 877, 883 (9th Cir. 2000).

                                       II

             The Federal Arbitration Act (FAA) requires district
         courts to compel arbitration of claims covered by an
         enforceable arbitration agreement. 9 U.S.C. § 3. The FAA
         limits the court’s role to “determining whether a valid
         arbitration agreement exists and, if so, whether the
         agreement encompasses the dispute at issue.” Lifescan, Inc.
         v. Premier Diabetic Services, Inc., 363 F.3d 1010, 1012 (9th
         Cir. 2004). Plaintiffs do not contest that the arbitration
         provision in the websites’ terms and conditions encompasses
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         their TCPA claims. Thus, the only issue we must resolve is
         whether an agreement to arbitrate was validly formed. 2

             In determining whether the parties have agreed to
         arbitrate a particular dispute, federal courts apply state-law
         principles of contract formation. See First Options of
         Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995). Here,
         the parties agree that either New York or California law
         governs. “New York and California apply ‘substantially
         similar rules for determining whether the parties have
         mutually assented to a contract term.’” Meyer v. Uber
         Technologies, Inc., 868 F.3d 66, 74 (2d Cir. 2017) (quoting
         Schnabel v. Trilegiant Corp., 697 F.3d 110, 119 (2d Cir.
         2012)). As in Nguyen, we need not decide which State’s law
         governs “because both California and New York law dictate
         the same outcome.” 763 F.3d at 1175.

             To form a contract under New York or California law,
         the parties must manifest their mutual assent to the terms of
         the agreement. See id. (applying New York law); Specht v.
         Netscape Communications Corp., 306 F.3d 17, 29 (2d Cir.
         2002) (applying California law). Parties traditionally
         manifest assent by written or spoken word, but they can also
         do so through conduct. Specht, 306 F.3d at 29. However,
         “[t]he conduct of a party is not effective as a manifestation
         of his assent unless he intends to engage in the conduct and
         knows or has reason to know that the other party may infer


              2
               While plaintiffs do not dispute that the arbitration provision is
         broad enough to cover their claims, they do contend that even if the
         provision is enforceable, it cannot be enforced by Freedom and Lead
         Science as they were not signatories to any agreement. Because we
         affirm the district court’s denial of the motion to compel arbitration on
         other grounds, we need not decide whether Freedom and Lead Science
         could compel arbitration in this case.
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         from his conduct that he assents.” Restatement (Second) of
         Contracts § 19(2) (1981).

             These elemental principles of contract formation apply
         with equal force to contracts formed online. Thus, if a
         website offers contractual terms to those who use the site,
         and a user engages in conduct that manifests her acceptance
         of those terms, an enforceable agreement can be formed.

             The most straightforward application of these principles
         in the online world involves so-called “clickwrap”
         agreements, in which a website presents users with specified
         contractual terms on a pop-up screen and users must check a
         box explicitly stating “I agree” in order to proceed. See
         Nguyen, 763 F.3d at 1175–76. In that scenario, the consumer
         has received notice of the terms being offered and, in the
         words of the Restatement, “knows or has reason to know that
         the other party may infer from his conduct that he assents”
         to those terms. Restatement (Second) of Contracts § 19(2).
         As a result, courts have routinely found clickwrap
         agreements enforceable. See Meyer, 868 F.3d at 75.

             At the other end of the spectrum are so-called
         “browsewrap” agreements, in which a website offers terms
         that are disclosed only through a hyperlink and the user
         supposedly manifests assent to those terms simply by
         continuing to use the website. See Nguyen, 763 F.3d at 1176.
         Courts are more reluctant to enforce browsewrap agreements
         because consumers are frequently left unaware that
         contractual terms were even offered, much less that
         continued use of the website will be deemed to manifest
         acceptance of those terms. Id. at 1178 (noting “courts’
         traditional reluctance to enforce browsewrap agreements
         against individual consumers”).
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             To avoid the unfairness of enforcing contractual terms
         that consumers never intended to accept, courts confronted
         with online agreements such as those at issue here have
         devised rules to determine whether meaningful assent has
         been given. Unless the website operator can show that a
         consumer has actual knowledge of the agreement, an
         enforceable contract will be found based on an inquiry notice
         theory only if: (1) the website provides reasonably
         conspicuous notice of the terms to which the consumer will
         be bound; and (2) the consumer takes some action, such as
         clicking a button or checking a box, that unambiguously
         manifests his or her assent to those terms. See Meyer,
         868 F.3d at 75; Nguyen, 763 F.3d at 1173 (refusing to
         enforce an arbitration provision to which the consumer “did
         not unambiguously manifest assent”). As the Second Circuit
         has explained, “[r]easonably conspicuous notice of the
         existence of contract terms and unambiguous manifestation
         of assent to those terms by consumers are essential if
         electronic bargaining is to have integrity and credibility.”
         Specht, 306 F.3d at 35.

             Defendants did not contend, in their motion to compel
         arbitration, that plaintiffs had actual knowledge of an
         agreement to arbitrate. And, as explained below, defendants
         failed to show that either of the conditions necessary for
         finding an enforceable agreement based on inquiry notice
         were satisfied.

             Reasonably conspicuous notice.            The webpages
         reproduced in Appendix A and Appendix B did not provide
         reasonably conspicuous notice of the terms and conditions
         for two reasons. First, to be conspicuous in this context, a
         notice must be displayed in a font size and format such that
         the court can fairly assume that a reasonably prudent Internet
         user would have seen it. See id. at 30; Nguyen, 763 F.3d
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         at 1177. The text disclosing the existence of the terms and
         conditions on these websites is the antithesis of conspicuous.
         It is printed in a tiny gray font considerably smaller than the
         font used in the surrounding website elements, and indeed in
         a font so small that it is barely legible to the naked eye. The
         comparatively larger font used in all of the surrounding text
         naturally directs the user’s attention everywhere else. And
         the textual notice is further deemphasized by the overall
         design of the webpage, in which other visual elements draw
         the user’s attention away from the barely readable critical
         text. Far from meeting the requirement that a webpage must
         take steps “to capture the user’s attention and secure her
         assent,” the design and content of these webpages draw the
         user’s attention away from the most important part of the
         page. Nguyen, 763 F.3d at 1178 n.1.

             Website users are entitled to assume that important
         provisions—such as those that disclose the existence of
         proposed contractual terms—will be prominently displayed,
         not buried in fine print. Because “online providers have
         complete control over the design of their websites,” Sellers
         v. JustAnswer LLC, 289 Cal. Rptr. 3d 1, 16 (Ct. App. 2021),
         “the onus must be on website owners to put users on notice
         of the terms to which they wish to bind consumers,” Nguyen,
         763 F.3d at 1179. The designer of the webpages at issue here
         did not take that obligation to heart.

             Second, while it is permissible to disclose terms and
         conditions through a hyperlink, the fact that a hyperlink is
         present must be readily apparent. Simply underscoring
         words or phrases, as in the webpages at issue here, will often
         be insufficient to alert a reasonably prudent user that a
         clickable link exists. See Sellers, 289 Cal. Rptr. 3d at 29.
         Because our inquiry notice standard demands
         conspicuousness tailored to the reasonably prudent Internet
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         user, not to the expert user, the design of the hyperlinks must
         put such a user on notice of their existence. Nguyen,
         763 F.3d at 1177, 1179.

             A web designer must do more than simply underscore
         the hyperlinked text in order to ensure that it is sufficiently
         “set apart” from the surrounding text. Sellers, 289 Cal. Rptr.
         3d at 29. Customary design elements denoting the existence
         of a hyperlink include the use of a contrasting font color
         (typically blue) and the use of all capital letters, both of
         which can alert a user that the particular text differs from
         other plain text in that it provides a clickable pathway to
         another webpage. See id. (finding “Terms of Service”
         insufficiently conspicuous because it did not use all capital
         letters or contrasting font color). Consumers cannot be
         required to hover their mouse over otherwise plain-looking
         text or aimlessly click on words on a page in an effort to
         “ferret out hyperlinks.” Nguyen, 763 F.3d at 1179. The
         failure to clearly denote the hyperlinks here fails our
         conspicuousness test. Cf. Meyer, 868 F.3d at 78–79 (finding
         hyperlinks reasonably conspicuous because they were both
         in blue and underlined).

              Unambiguous manifestation of assent. In using the
         websites, Hernandez and Russell did not take any action that
         unambiguously manifested their assent to be bound by the
         terms and conditions. Defendants rely on plaintiffs’ act of
         clicking on the large green “continue” buttons as
         manifestation of their assent, but merely clicking on a button
         on a webpage, viewed in the abstract, does not signify a
         user’s agreement to anything. A user’s click of a button can
         be construed as an unambiguous manifestation of assent only
         if the user is explicitly advised that the act of clicking will
         constitute assent to the terms and conditions of an
         agreement. See Specht, 306 F.3d at 29–30. The presence of
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         “an explicit textual notice that continued use will act as a
         manifestation of the user’s intent to be bound” is critical to
         the enforceability of any browsewrap-type agreement.
         Nguyen, 763 F.3d at 1177.

             The webpages here did provide advisals concerning the
         terms and conditions in proximity to the “continue” buttons.
         On the webpage Russell visited, the notice appeared directly
         above the button, and on the webpage Hernandez visited it
         appeared above the button separated by several intervening
         lines of text. But “even close proximity of the hyperlink to
         relevant buttons users must click on—without more—is
         insufficient to give rise to constructive notice.” Id. at 1179.

             Rather, the notice must explicitly notify a user of the
         legal significance of the action she must take to enter into a
         contractual agreement. The notice did not do so here. Both
         webpages stated, “I understand and agree to the Terms &
         Conditions,” but they did not indicate to the user what action
         would constitute assent to those terms and conditions.
         Likewise, the text of the button itself gave no indication that
         it would bind plaintiffs to a set of terms and conditions. This
         notice defect could easily have been remedied by including
         language such as, “By clicking the Continue >> button, you
         agree to the Terms & Conditions.” See, e.g., Meyer,
         868 F.3d at 78–80 (concluding that an enforceable
         agreement was formed where the mobile app explicitly
         warned, “By creating an Uber account, you agree to the
         TERMS OF SERVICE & PRIVACY POLICY”).

             Defendants assert that the presence of the phrase “which
         includes mandatory arbitration” in the textual notice
         distinguishes the webpages at issue here from those rejected
         by other courts. This argument is unavailing, as it fails to
         appreciate the key issue in this appeal. The question before
         us is not whether Hernandez and Russell may have been
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         aware of the mandatory arbitration provision in particular,
         but rather whether they can be deemed to have manifested
         assent to any of the terms and conditions in the first place.
         Because the textual notice was not conspicuous and did not
         explicitly inform Hernandez and Russell that by clicking on
         the “continue” button they would be bound by the terms and
         conditions, the presence of the words “which includes
         mandatory arbitration” in the notice is of no relevance to the
         outcome of this appeal.

             We conclude that the design and content of the webpages
         Hernandez and Russell visited did not adequately call to
         their attention either the existence of the terms and
         conditions or the fact that, by clicking on the “continue”
         button, they were agreeing to be bound by those terms. The
         district court properly denied defendants’ motion to compel
         arbitration because an enforceable agreement to arbitrate
         was never formed.

                                      III

             Following the district court’s denial of their motion to
         compel arbitration, defendants filed a motion for
         reconsideration, asserting that testimony from the
         depositions they took of Russell and Hernandez two months
         prior to the court’s ruling was material to resolution of the
         motion to compel.          The district court denied the
         reconsideration motion because defendants failed to act with
         reasonable diligence and, alternatively, because plaintiffs’
         deposition testimony was not materially different from the
         facts the court had already considered. Because we agree
         with the court’s first rationale, we need not address the
         second.
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             A district court may, in its discretion, reconsider an
         interlocutory order denying a motion to compel arbitration.
         See Fed. R. Civ. P. 60(b); N.D. Cal. Civ. L.R. 7-9. However,
         reconsideration of such an order is an “extraordinary
         remedy, to be used sparingly in the interests of finality and
         conservation of judicial resources.” Kona Enterprises,
         229 F.3d at 890. Reconsideration motions may not be used
         to raise new arguments or introduce new evidence if, with
         reasonable diligence, the arguments and evidence could have
         been presented during consideration of the original ruling.
         Id.

             As the district court explained, had defendants acted with
         reasonable diligence, plaintiffs’ deposition testimony could
         have been presented to the court in connection with the
         motion to compel arbitration. Defendants could have
         deposed plaintiffs before filing the motion or before the
         close of briefing on the motion. During that period, the
         district court granted each extension of the briefing and
         discovery schedules the parties requested. Moreover,
         defendants could have submitted plaintiffs’ deposition
         testimony at any point during the two-month period between
         the taking of the depositions and issuance of the court’s order
         denying the motion to compel. Instead, defendants waited
         until after the court had issued its ruling to present the
         deposition testimony in support of their new theory that
         plaintiffs had actual knowledge of the hyperlinked terms and
         conditions. The district court did not abuse its discretion in
         concluding that defendants’ “tactical decision not to submit
         the deposition testimony until after their motion was denied”
         failed to provide any basis for seeking reconsideration of the
         court’s earlier ruling.

                              *        *         *
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             We affirm the district court’s denial of defendants’
         motion to compel arbitration and their motion for
         reconsideration.

              AFFIRMED.
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                              Appendix B
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         BAKER, Judge, concurring:

             I join Parts I and III of Judge Watford’s opinion for the
         Court. Although my colleagues and I reach the same
         destination, I would take a different route, one that first
         walks through the applicable choice-of-law analysis and
         then, based on that analysis, relies more on recent decisions
         of the California Court of Appeal. Those decisions establish
         that the websites here contain “sign-in wrap” agreements,
         which—as this case illustrates—tempt fate under California
         law.

                                        I

             “In determining the validity of an agreement to arbitrate,
         federal courts should apply ordinary state-law principles that
         govern the formation of contracts.” Pokorny v. Quixtar, Inc.,
         601 F.3d 987, 994 (9th Cir. 2010) (cleaned up and quoting
         Ferguson v. Countrywide Credit Indus., Inc., 298 F.3d 778,
         782 (9th Cir. 2002)). The first issue here is what body of state
         law governs whether the parties agreed to arbitration. The
         parties agree that California and New York are the options
         and further agree that there is no material difference between
         the applicable law of those jurisdictions. But when asked at
         argument which state’s law would apply if forced to choose,
         plaintiffs asserted California and defendants asserted New
         York. My colleagues decline to decide this issue because,
         like the parties, they conclude that both California and New
         York law dictate the same outcome. Ante at 10 (citing
         Nguyen v. Barnes & Noble, Inc., 763 F.3d 1171 (9th Cir.
         2014)).

             I am not sure this is correct at the margins in this
         evolving and fact-bound area. I also think that due respect
         for state courts should lead us to begin by identifying the
         relevant jurisdiction and then determining its law as
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         enunciated by those courts. Cf. 19 Wright & Miller, Federal
         Practice and Procedure § 4507 (3d ed. 2021) (“Because of
         the important federalism concerns implicated in the
         application of state law by the federal courts, the accurate
         ascertainment of that law is extremely important.”). We are
         messengers, not catalysts, of state law.

                                           A

             “Before a federal court may apply state-law principles to
         determine the validity of an arbitration agreement, it must
         determine which state’s laws to apply.” Pokorny, 601 F.3d
         at 994. If we were sitting in diversity, it is long-settled that
         we would apply the choice-of-law rules of the forum
         statute—here, California—to resolve whether the parties
         agreed to arbitrate their dispute. See, e.g., Patton v. Cox,
         276 F.3d 493, 495 (9th Cir. 2002) (“When a federal court sits
         in diversity, it must look to the forum state’s choice of law
         rules to determine the controlling substantive law.”).

             But because we exercise our federal-question
         jurisdiction here, 1 the selection of choice-of-law principles
         is not so straightforward. “[T]here is some inconsistency” in
         our circuit precedent “as to whether federal courts [in
         federal-question cases] should apply federal common law
         choice-of-law principles or the choice-of-law principles of
         the forum state when the particular issue is governed by
         substantive state law.” Setty v. Shrinivas Sugandhalaya LLP,
         986 F.3d 1139, 1148 (9th Cir.) (Bea, J., dissenting),



             1
                Plaintiffs brought this suit under the Telephone Consumer
         Protection Act (TCPA), 47 U.S.C. § 227. It permits concurrent federal
         and state court jurisdiction over private-party claims such as those
         brought by plaintiffs here. See Mims v. Arrow Fin. Servs., LLC, 565 U.S.
         368, 379–87 (2012).
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         withdrawn on denial of reh’g en banc, 998 F.3d 897 (9th Cir.
         2021).

             “For bankruptcy cases founded on federal question
         jurisdiction, we have opted to use federal choice-of-law rules
         to determine which state law to apply to pendent state
         claims.” Id. (citing In re Lindsay, 59 F.3d 942, 948 (9th Cir.
         1995)). And in some federal-question contexts outside of
         bankruptcy, we have applied federal choice-of-law rules to
         state-law issues. See, e.g., Huynh v. Chase Manhattan Bank,
         465 F.3d 992, 997 (9th Cir. 2006) (characterizing circuit
         precedent as standing for the general proposition that “where
         jurisdiction is not premised on diversity of citizenship,
         federal common law governs” and applying that law to
         determine which state’s limitations period to use).

             But in other federal-question contexts, “when the
         particular issue is ultimately determined by state rather than
         federal law . . . , the Ninth Circuit and the lower courts have
         sometimes applied the forum state’s choice-of-law rule.”
         Setty, 986 F.3d at 1149 (Bea, J., dissenting) (citing SEC v.
         Elmas Trading Corp., 683 F. Supp. 743, 748 (D. Nev. 1987),
         aff’d w/o opinion, 865 F.2d 265 (9th Cir. 1988), and Paracor
         Fin., Inc. v. Gen. Elec. Cap. Corp., 96 F.3d 1151, 1164 (9th
         Cir. 1996)). Paracor involved supplemental state-law
         claims, and later in Pokorny (which, as here, was a federal-
         question case) we followed Paracor in applying forum state
         choice-of-law rules to the state-law question of whether the
         parties agreed to arbitrate their dispute. See Pokorny,
         601 F.3d at 994.

             I think analysis of the Supreme Court’s decisions
         resolves our intra-circuit conflict and favors applying forum
         state choice-of-law rules to state-law issues arising in
         federal-question cases, at least where Congress has vested
         concurrent jurisdiction in state and federal courts. In
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         enacting federal law, “Congress acts . . . against the
         background of the total corpus juris of the states . . . .”
         Atherton v. FDIC, 519 U.S. 213, 218 (1997) (ellipses in
         original) (cleaned up and quoting Wallis v. Pan Am.
         Petroleum Corp., 384 U.S. 63, 68 (1966)). “Thus, normally,
         when courts decide to fashion rules of federal common law,
         ‘the guiding principle is that a significant conflict between
         some federal policy or interest and the use of state law . . .
         must first be specifically shown.” Id. (ellipsis in original)
         (quoting Wallis, 384 U.S. at 68); see also O’Melveny &
         Myers v. FDIC, 512 U.S. 79, 87 (1994) (“Cases in which
         judicial creation of a special federal rule would be justified”
         are “few and restricted, limited to situations where there is a
         significant conflict between some federal policy or interest
         and the use of state law.”) (cleaned up).

             Where, as here, Congress vests concurrent jurisdiction in
         state and federal courts to hear federal causes of action,
         absent any statutory indication to the contrary it implicitly
         authorizes state courts to apply their own choice-of-law rules
         to state-law issues arising in such cases. This implied
         authorization necessarily signifies that federal courts’
         application of forum state choice-of-law rules to state-law
         issues arising under those same statutes does not conflict
         with any federal policy or interest. Cf. A.I. Trade Fin., Inc.
         v. Petra Int’l Banking Corp., 62 F.3d 1454, 1464 (D.C. Cir.
         1995) (“The Supreme Court has decreed that in the absence
         of federal legislation there shall be what one might call
         ‘vertical uniformity’: a suit in federal court shall be handled
         as it would be in the courts of the state where that federal
         court sits.”). For that reason, given the TCPA’s silence on
         the matter we should apply the choice-of-law rules of the
         forum state—here, California—to resolve the state-law issue
         of whether the parties agreed to arbitrate plaintiffs’ federal
         claims. In other words, we should apply the same choice-of-
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         law rules that we would apply in a diversity case, or to
         supplemental state-law claims.

                                             B

              Under California choice-of-law principles, “when there
         is no advance agreement on applicable law, but the action
         involves the claims of residents from outside California, the
         trial court may analyze the governmental interests of the
         various jurisdictions involved to select the most appropriate
         law.” Wash. Mut. Bank, FA v. Super. Ct., 15 P.3d 1071, 1077
         (Cal. 2001). 2 This analysis has three steps.

             First, a court will apply California substantive law unless
         the party timely invoking another state’s law “show[s] it
         materially differs from the law of California.” Wash. Mut.,
         15 P.3d at 1080. If the states’ laws are identical, the court
         applies California law. Id. Second, if the laws are materially

             2
               The California Court of Appeal has held that “notwithstanding the
         application of the governmental interest analysis to other choice-of-law
         issues,” the “choice-of-law rule in Civil Code section 1646 determines
         the law governing the interpretation of a contract.” Frontier Oil Corp. v.
         RLI Ins. Co., 63 Cal. Rptr. 3d 816, 835 (Ct. App. 2007). Section 1646
         provides that “[a] contract is to be interpreted according to the law and
         usage of the place where it is to be performed; or, if it does not indicate
         a place of performance, according to the law and usage of the place
         where it is made.” Cal. Civ. Code § 1646. Because § 1646 presupposes
         the existence of a contract, it is inapplicable to the antecedent question
         of whether the parties formed a valid contract. See Glob. Commodities
         Trading Grp., Inc. v. Beneficio de Arroz Choloma, S.A., 972 F.3d 1101,
         1111 (9th Cir. 2020) (“Section 1646 governs only the interpretation of
         contractual terms. . . . [A]ll other issues in a contract dispute, including
         the validity of a contract, are governed by governmental interest
         analysis.”); Miller v. Stults, 300 P.2d 312, 318 (Cal. App. 1956) (stating
         that “[t]he rules stated in” § 1646 and related provisions “govern the
         interpretation of contracts which might otherwise be uncertain, not the
         formation of contracts”).
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         different, the court must “determine what interest, if any,
         each state has in having its own law applied to the case.” Id.
         Finally, “[o]nly if the trial court determines that the laws are
         materially different and that each state has an interest in
         having its own law applied, thus reflecting an actual conflict,
         must the court take the final step and select the law of the
         state whose interests would be ‘more impaired’ if its law
         were not applied.” Id. at 1081 (emphasis in original).

             Here, step one resolves the issue because while
         defendants (if forced to choose) urge us to apply New York’s
         law instead of California’s, they have not met their burden
         of identifying differences in the applicable law of both states.
         We must therefore apply California law.

             In so doing, we must apply the law as enunciated by the
         California Supreme Court. Vestar Dev. II, LLC v. Gen.
         Dynamics Corp., 249 F.3d 958, 960 (9th Cir. 2001). Absent
         any such authority, we “must predict how the highest state
         court would decide the issue using intermediate appellate
         court decisions, decisions from other jurisdictions, statutes,
         treatises, and restatements as guidance.” Id. (quoting Lewis
         v. Tel. Emps. Credit Union, 87 F.3d 1537, 1545 (9th Cir.
         1996)). But “where there is no convincing evidence that the
         state supreme court would decide differently, a federal court
         is obligated to follow the decisions of the state’s
         intermediate appellate courts.” Id. (quoting Lewis, 87 F.3d
         at 1545); see also Hayes v. Cnty. of San Diego, 658 F.3d 867,
         872 (9th Cir. 2011) (same).

             As the California Supreme Court has not yet addressed
         internet contract formation, and as I am unaware of any
         evidence suggesting that it would decide these questions any
         differently, I would decide this case based on two relevant
         published decisions of the California Court of Appeal.
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                                       II

             The first relevant state court decision is Long v. Provide
         Commerce, Inc., 200 Cal. Rptr. 3d 117 (Ct. App. 2016). In
         that case, a user of ProFlowers.com argued that an
         arbitration provision in a website’s terms and conditions was
         unenforceable for lack of notice.

             Long began with first principles. Federal and state
         policies favoring arbitration cannot compel someone to
         arbitrate when he has not agreed to do so, id. at 122 (citing
         Freeman v. State Farm Mut. Auto. Ins. Co., 535 P.2d 341,
         346 (Cal. 1975)), and e-commerce “has not fundamentally
         changed the requirement that mutual manifestation of assent,
         whether by written or spoken word, is the touchstone of
         contract,” id. (cleaned up) (citing Nguyen, 763 F.3d at 1175).
         “California law is clear—an offeree, regardless of apparent
         manifestation of his consent, is not bound by inconspicuous
         contractual provisions of which he was unaware, contained
         in a document whose contractual nature is not obvious.” Id.
         (cleaned up).

            Long then noted the distinction between

                “clickwrap” (or “click-through”) agreements,
                in which website users are required to click
                on an “I agree” box after being presented with
                a list of terms and conditions of use; and
                “browsewrap” agreements, where a website’s
                terms and conditions of use are generally
                posted on the website via a hyperlink at the
                bottom of the screen.

         Id. at 123 (quoting Nguyen, 763 F.3d at 1175–76). “[A]bsent
         actual notice, ‘the validity of a browsewrap agreement turns
         on whether the website puts a reasonably prudent user on
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         inquiry notice of the terms of the contract.” Id. (cleaned up)
         (quoting Nguyen, 763 F.3d at 1177).

             Long involved a browsewrap agreement where the
         website’s hyperlinked terms of use were buried at the bottom
         of the relevant webpages and confirming emails. The court
         noted that “what sort of Web site design elements would be
         necessary or sufficient to deem a browsewrap agreement
         valid in the absence of actual notice” was an issue of first
         impression under California law, and accordingly said it
         would be “largely guided” by the reasoning in Nguyen and
         Specht v. Netscape Communications Corp., 306 F.3d 17 (2d
         Cir. 2002). Id. at 124. Applying these decisions, Long held
         that the website’s hyperlinks to the terms of use—“their
         placement, color, size, and other qualities relative to the
         ProFlowers.com Web site’s overall design—[were] simply
         too inconspicuous” to put reasonably prudent users on
         inquiry notice. Id. at 125–26.

             “While the lack of conspicuousness” of the terms of use
         resolved the case, id. at 126, Long went further and approved
         Nguyen’s conclusion that if browsewrap is to be enforceable,
         “a textual notice should be required to advise consumers that
         continued use of a Web site will constitute the consumer’s
         agreement to be bound by the Web site’s terms of use.” Id.
         at 126 (citing Nguyen, 763 F.3d at 1178–79). The court
         reasoned that merely placing a hyperlink in a “prominent or
         conspicuous place” is not enough because “the phrase ‘terms
         of use’ may have no meaning or a different meaning to a
         large segment of the Internet-using public.” Id. at 126–27.
         Long thereby endorsed “the bright line rule established by
         Nguyen” as to textual notice, which “is necessary to ensure
         that Internet consumers are on inquiry notice of a
         browsewrap agreement’s terms, regardless of each
         consumer’s degree of technological savvy.” Id. at 127. Thus,
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         “[o]nline retailers would be well-advised to include a
         conspicuous textual notice with their terms of use hyperlinks
         going forward.” Id.

             A recent California Court of Appeal decision builds on
         Long and further develops state law in this area. In Sellers v.
         JustAnswer LLC, 289 Cal. Rptr. 3d 1 (Ct. App. 2021), 3
         petition for review filed, No. S273056 (Cal. Feb. 8, 2022),
         the court—drawing on a scholarly opinion by Judge
         Weinstein, see Berkson v. Gogo LLC, 97 F. Supp. 3d 359,
         394–401 (E.D.N.Y. 2015)—helpfully classifies internet
         contract formation “by the way in which the user purportedly
         gives [her] assent to be bound by the associated terms:
         browsewraps, clickwraps, scrollwraps, and sign-in wraps.”
         Sellers, 289 Cal. Rptr. 3d at 15. Those four ways are as
         follows:

                 A “browsewrap” agreement is one in which
                 an internet user accepts a website’s terms of
                 use merely by browsing the site. A
                 “clickwrap” agreement is one in which an
                 internet user accepts a website’s terms of use
                 by clicking an ‘I agree’ or ‘I accept’ button,
                 with a link to the agreement readily available.
                 A “scrollwrap” agreement is like a
                 “clickwrap,” but the user is presented with
                 the agreement and must physically scroll to

             3
               The Court of Appeal issued Sellers after we heard argument in this
         case. It “involved a $5 ‘trial’ that automatically enrolled allegedly
         unwitting consumers in a more expensive recurring monthly
         membership.” Id. at 5. The California Automatic Renewal Law, Cal.
         Bus. & Prof. Code §§ 17,600 et seq., therefore applied and the court
         applied statutory standards. See 289 Cal. Rptr. 3d at 26–28. The court,
         however, also applied Long and the relevant federal cases addressing the
         sufficiency of inquiry notice. See id. at 28–30.
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                the bottom of it to find the “I agree” or “I
                accept” button. “Sign-in wrap” agreements
                are those in which a user signs up to use an
                internet product or service, and the sign-up
                screen states that acceptance of a separate
                agreement is required before the user can
                access the service. While a link to the
                separate agreement is provided, users are not
                required to indicate that they have read the
                agreement’s terms before signing up.

         Id. (cleaned up).

              Using these criteria, Sellers classified the website before
         it as “a sign-in wrap agreement.” Id. at 16. The website

                purportedly notif[ied] consumers of the
                existence of a separate, hyperlinked webpage
                containing contractual terms, along with a
                textual notice that they agree to the terms by
                clicking the “Start my trial” button. While a
                hyperlink to the separate agreement was
                provided, the consumer was not required to
                click the hyperlink or otherwise read the
                terms to proceed, and was not required to
                affirmatively indicate that [he had] read the
                agreement’s terms before signing up.

         Id. at 17 (cleaned up).

             Sellers then “set some basic guideposts as to the
         enforceability” of the four types of internet contract
         formation. Id. at 20. First, the court expressly stated what
         Long implied—“On one end of the spectrum, a browsewrap
         agreement like the one at issue in Long . . . is not sufficient
         to bind the consumer.” Id. “Toward the other end of the
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         spectrum, clickwrap agreements . . . are generally
         considered enforceable.” Id. at 20–21. “Scrollwrap
         agreements go one step further and place the contractual
         terms directly in front of the user . . . . [T]here should be little
         doubt scrollwrap agreements are enforceable under
         California law because the consumer is given the contract, a
         sufficient circumstance to place the consumer on inquiry
         notice of the contractual terms.” Id. at 21.

             That left sign-in wrap, which Sellers described as
         “fall[ing] somewhere in the middle of the two extremes of
         browsewrap and scrollwrap agreements.” Id. The court
         explained that although sign-in wrap displays a textual
         notice that the user will be bound by the site’s terms, unlike
         scrollwrap it does not require the user to scroll through the
         terms before clicking “I agree” or the like. And unlike
         clickwrap, it does not require a user to click “I agree” or the
         like to accept the site’s hyperlinked terms and conditions. Id.

             “Instead, the consumer is purportedly bound by clicking
         some other button that [he] would otherwise need to click to
         continue with [his] transaction or [his] use of the website—
         most frequently, a button that allows the consumer to ‘sign
         in’ or ‘sign up’ for an account.” Id. (emphasis in original).
         Sellers doubted whether most consumers know that clicking
         that “some other button” constitutes agreeing to contract
         terms, and the court therefore concluded that “the existence
         of a contract ‘turns on whether a reasonably prudent offeree
         would be on inquiry notice of the terms at issue.’ ” Id.
         (quoting Selden v. Airbnb, Inc., No. 16-CV-00933 (CRC),
         2016 WL 6476934, at *4 (D.D.C. Nov. 1, 2016)). “ ‘There
         is nothing automatically offensive about such agreements, as
         long as the layout and language of the site give the user
         reasonable notice that a click will manifest assent to an
         agreement.’ ” Id. (emphasis and alterations in original)
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         (quoting Meyer v. Uber Techs., Inc., 868 F.3d 66, 75 (2d Cir.
         2017)).

             Sellers outlined two other considerations bearing on the
         validity of sign-in wrap agreements. First, “the full context
         of the transaction is critical to determining whether a given
         textual notice is sufficient to put an internet consumer on
         inquiry notice of contractual terms.” Id. at 26. Specifically,
         in transactions involving “a consumer signing up for an
         ongoing account,” id. at 21 (emphasis added), “it is
         reasonable to expect that the typical consumer in that type of
         transaction contemplates entering into a continuing,
         forward-looking relationship,” id. In contrast, where the
         “transaction is one in which the typical consumer would not
         expect to enter into an ongoing contractual relationship,” the
         consumer would be “less likely to be looking for”
         contractual terms. Id. at 25. In short, websites inviting one-
         off transactions will be held to higher standards than those
         proposing continuing associations, as the “transactional
         context . . . is key to determining the expectations of a
         typical consumer.” Id. at 29–30.

             Second, as “not all internet users are alike,” id. at 24, “the
         onus must be on website owners to put users on notice of the
         terms to which they wish to bind consumers . . . .
         [C]onsumers cannot be expected to ferret out hyperlinks to
         terms and conditions to which they have no reason to suspect
         they will be bound.” Id. at 25.

             Sellers then applied these principles, beginning with the
         transaction’s context. Website users were not asked to “sign
         up” for an account but were invited to “ ‘start a trial’ to
         determine whether they wanted to use the service at all and
         were not likely expecting that their ‘trial’ would be governed
         by approximately 26 pages of contractual terms.” Id. at 29
         (cleaned up). Thus, this was “not a situation in which ‘the
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         registration process clearly contemplated some sort of
         continuing relationship that would require some terms and
         conditions.’ ” Id. (cleaned up and quoting Meyer, 868 F.3d
         at 80). In the latter case, users might be on the lookout for
         “small text outside the payment box or at the bottom of the
         screen linking them to 26 pages of contractual terms.” Id.

             Sellers also stated that “[a]bsent such scrutiny, it is not
         likely a typical consumer would notice the relatively
         inconspicuous notice of contractual terms that would govern
         [her] use of the” website at issue:

                [T]he notice appears in extremely small print,
                outside the white box containing the payment
                fields where the consumer’s attention would
                necessarily be focused. Although the text of
                the notice appears in white against a dark
                background, the font is so small that the
                contrast is not sufficient to make the text
                apparent. Further, the hyperlink to the terms
                of service is underlined, but it is not set apart
                in any other way that may draw the attention
                of the consumer, such as with blue text or
                capital letters.

         Id. (footnote reference omitted). The court clarified that it
         “consider[ed] the size of the textual notice in relation to the
         other text on the screen.” Id. at 29 n.10.

             “Considering all of these factors together,” Sellers held
         that the website’s notice was not “sufficiently conspicuous
         to put Plaintiffs on inquiry notice that they would be bound
         by the terms of service by proceeding with their trial.” Id.
         The website’s designer “chose to use a textual notice
         attached to a hyperlink as opposed to a pure clickwrap or
         scrollwrap form, and then chose to display that notice in
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         extremely small print and not immediately adjacent to the
         ‘Start my trial’ button. By doing so, JustAnswer ran the risk
         of a court concluding, as we do here, that the notice was not
         sufficiently conspicuous.” Id. at 30.

             The court warned website owners that “particularly
         where, as here, the consumer is not likely expecting to be
         bound by such terms,” id. (emphasis added), “text that is just
         slightly smaller, or slightly further away from the box or
         button the consumer must click on must, at some point,
         exceed the limits of what constitutes adequate notice.” Id.
         “The onus is on” website owners “to provide adequate notice
         of contractual terms.” Id.

                                       * * *

             Long and Sellers teach that, pending further word from
         the California appellate courts, browsewrap agreements are
         unenforceable per se; sign-in wrap agreements are in a gray
         zone; and clickwrap and scrollwrap agreements are
         presumptively enforceable. And in the gray zone of sign-in
         wrap agreements, enforceability requires conspicuous
         textual notice that completing a transaction or registration
         signifies consent to the site’s terms and conditions. Whether
         such notice is sufficiently conspicuous will turn on the
         transactional context, the notice’s size relative to other text
         on the site, the notice’s proximity to the relevant button or
         box the user must click to complete the transaction or
         register for the service, and whether the notice’s hyperlinks
         are readily identifiable. A court must “[c]onsider[ ] all of
         these factors” together. Sellers, 289 Cal. Rptr. 3d at 29. 4


              Given the present state of California law, website designers who
              4

         knowingly choose sign-in wrap—to say nothing of browsewrap—over
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                                            III

             Under Sellers’s classification scheme, there is no
         contention that the websites here operate as scrollwrap or
         clickwrap. Defendants also do not argue that merely
         accessing the websites constitutes agreement to the terms of
         use, so their sites do not use browsewrap. Instead, defendants
         argue that their sites’ terms and conditions, including
         mandatory arbitration, are enforceable because of the sites’
         notices that consumers agree to those provisions. These sites
         therefore employ sign-in wrap under Sellers.

                                            A

             To determine whether the sign-in wrap agreements here
         are sufficiently conspicuous, Sellers requires that we first
         consider the context—whether reasonably prudent users
         would understand defendants’ websites to invite one-off
         transactions or continued dealings of some kind. As in
         Sellers, defendants’ websites—whatever else their
         hyperlinked terms and conditions may say—do not clearly
         propose forward-looking relations such as memberships or
         subscriptions. See, e.g., Appendix B, ante (requesting that
         the website user “complete your shipping information to
         continue towards your reward,” a $100 Target gift card).
         That in turn means that the conspicuousness of these sites’
         textual notices must undergo the most rigorous scrutiny,
         because a reasonably prudent user would not have been on
         the lookout for fine print.


         clickwrap and scrollwrap designs practically invite litigation over the
         enforceability of their sites’ terms and conditions, as the fact-intensive
         inquiry over what “makes a given textual notice sufficiently conspicuous
         . . . invariably lends itself to a more subjective than objective analysis
         . . . .” Id. at 23.
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             Also as in Sellers, the notices here appeared in
         “extremely small print” in comparison to “the other text on
         the screen.” 289 Cal. Rptr. 3d at 29 & n.10. But in Sellers,
         the notice was “outside the white box containing the
         payment fields where the consumer’s attention would
         necessarily be focused.” Id. at 29. In one of the sites here,
         the notice was in the same white box and immediately above
         the “Continue” button. See Appendix B, ante. In the other
         site, the notice was also in the same box, but not immediately
         adjacent to the “This is correct, Continue!” button. See
         Appendix A, ante.

             Moreover, in Sellers “the font [was] so small that the
         contrast [was] not sufficient to make the text apparent.
         Further, the hyperlink to the terms of service [was]
         underlined, but it [was] not set apart in any other way that
         may [have] draw[n] the attention of the consumer, such as
         with blue text or capital letters.” 289 Cal. Rptr. 3d at 29.
         Here, the very small text is nonetheless apparent, and the
         underscored hyperlinks are capitalized, though in title case,
         not all caps. 5

            Although the notices here are relatively more
         conspicuous than the one at issue in Sellers—to say nothing

              5
                Sellers does not explain whether its reference to “capital letters” in
         hyperlinks refers to title case or all caps. See 289 Cal. Rptr. 3d at 29
         (stating that an underscored hyperlink was insufficiently conspicuous in
         part because it was not “set apart in any other way that may draw the
         attention of the consumer, such as with blue text or capital letters”). We
         can infer that Sellers meant all caps because the court also found the
         hyperlinks in the website’s mobile device version insufficiently
         conspicuous, in part because the underscored and title case hyperlinks
         did not “otherwise draw the user’s attention in any way.” See id.; see also
         id. at 8 (quoting the mobile device hyperlinks as “Terms of Service” and
         “Privacy Policy”).
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         of Long, where the terms of use were buried at the bottom of
         the relevant webpages—I agree with my colleagues that
         these notices are still insufficiently conspicuous. Under
         Sellers, we must hold defendants to the most exacting
         standard because the transactions at issue were one-off, and
         for that reason the much smaller size of the notices compared
         to the surrounding text independently suffices to find the
         notices insufficiently conspicuous. As my colleagues
         correctly observe, “[t]he comparatively larger font used in
         all of the surrounding text naturally directs the user’s
         attention everywhere else.” Ante at 13. The comparative size
         of the text is critical because it suggests the designer’s intent
         to minimize the user’s attention to the terms and conditions.
         In this case involving one-off transactions, reasonably
         prudent users of defendants’ sites are unlikely to be on the
         lookout for fine print. 6

             Moreover, at least on the page Hernandez allegedly
         viewed, ante at Appendix A, an intervening graphical
         element (an “I agree” button through which a user consents
         to receiving daily emails) is confusingly placed so that a user
         who does notice the reference to the terms and conditions
         might think it necessary to click “I agree” before continuing
         with the transaction. On the page Hernandez allegedly
         viewed the crucial text is, to use the Sellers court’s
         formulation, “not immediately adjacent to” the button the
         user must click to proceed with the transaction. This is an



              6
                On the other hand, if defendants’ websites invited ongoing
         dealings, Sellers suggests that reasonably prudent users would expect
         there to be terms and conditions or fine print. It therefore follows in such
         cases that a textual notice could be somewhat smaller than adjoining text
         or the relevant button, provided (as discussed below) the notice is
         immediately adjacent to the relevant button or box. But see above note 4.
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         independent reason to find the notice in the website
         identified as Appendix A insufficiently conspicuous.

                                        B

             As discussed above, Long endorsed Nguyen’s conclusion
         that “a textual notice” is “required to advise consumers that
         continued use of a Web site will constitute the consumer’s
         agreement to be bound by the Web site’s terms of use.”
         200 Cal. Rptr. 3d at 126 (citing Nguyen, 763 F.3d at 1178–
         79); see also Sellers, 289 Cal. Rptr. 3d at 25 (observing that
         website owners must “eliminate any uncertainty as to the
         consumer’s notice of contractual terms and assent to those
         very terms”) (emphasis added). To that end, Sellers explains
         that the defining feature of sign-in wrap is that “the sign-up
         screen states that acceptance of a separate agreement is
         required before the user can access the service.” Id. at 15.

               Sellers does not explain what form that statement must
         take, but Nguyen noted that the hyperlink’s mere proximity
         to the relevant button is not enough without “something
         more to capture the user’s attention and secure her consent”
         like a text warning that stated, “By clicking and making a
         request to Activate, you agree to the terms and conditions
         . . . .” 763 F.3d at 1179 n.1 (emphasis added). That is a useful
         example for sign-in wrap agreements because Sellers
         requires that the user’s action of accessing the service or
         completing the transaction be linked to acceptance of the
         site’s terms and conditions.

             Thus, I agree with my colleagues that, for an otherwise
         conspicuous notice to be effective, it must be unambiguously
         tied to some act of the website user that manifests assent to
         the site’s terms and conditions. Here, neither notice passes
         that test. They only imply—rather than explicitly state—that
         consumers signify such assent by clicking the greenish
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         button with the word “Continue.” Neither one says, for
         example, “By clicking CONTINUE, I agree to the Terms &
         Conditions which includes mandatory arbitration and
         Privacy Policy,” or even “By continuing with this
         transaction, I agree . . .” See Beland v. Expedia, Inc., No.
         C086061, 2021 WL 3046742, at **6–7 (Cal. App. July 20,
         2021) (in unpublished decision 7 finding sign-in wrap 8
         enforceable, twice noting the inclusion of the words “[b]y
         selecting to complete this booking” in the relevant notice).
         Under Long and Sellers, the sign-in wrap agreements here
         are not enforceable because even apart from their
         insufficient conspicuousness, the relevant notices do not
         expressly advise users that clicking “Continue” signifies
         assent to the sites’ arbitration provisions and other terms and
         conditions. Such express warnings are necessary to
         “eliminate any uncertainty as to the consumer’s . . . assent to
         those very terms.” Sellers, 289 Cal. Rptr. 3d at 25.

                                         * * *



              7
                “[W]e may consider unpublished state decisions, even though such
         opinions have no precedential value.” Emps. Ins. of Wausau v. Granite
         State Ins. Co., 330 F.3d 1214, 1220 n.8 (9th Cir. 2003). Unlike published
         decisions of the Court of Appeal, however, “we are not bound by them.”
         Nunez ex rel. Nunez v. City of San Diego, 114 F.3d 935, 942 n.4 (9th Cir.
         1997).
             8
               The Beland court characterized the design at issue as “more like a
         browsewrap agreement.” 2021 WL 3046742, at *6. But the court only
         identified browsewrap and clickwrap as possible choices. Id. Viewed
         through the prism of Sellers—and Berkson, which the Beland court also
         cited—the design is more accurately classified as sign-in wrap because
         the Expedia screen notified the user that proceeding with booking also
         constituted consent to the hyperlinked terms and conditions. See id.
         at *14 (screenshot).
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            For the foregoing reasons, I concur in affirming the
         decision below.
